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                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF DELAWARE


           In re                                                          Chapter 11

           OPEN ROAD FILMS, LLC, a Delaware                               Case No.: 18-12012 (LSS)
           limited liability company, et al.,1
                                                                          (Jointly Administered)
                                       Debtors.


                                 NOTICE OF AGENDA OF MATTERS SCHEDULED
                               FOR HEARING ON OCTOBER 2, 2018 AT 2:00 P.M. (ET)

           RESOLVED MATTERS

           1.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Payment of
                    Limited Prepetition Employee Benefits and Confirming Right to Continue Employee
                    Benefits on Postpetition Basis, (II) Authorizing Payment of Reimbursement for
                    Prepetition Expenses, (III) Authorizing Payment of Withholding and Payroll-Related
                    Taxes, (IV) Authorizing Banks to Honor Prepetition Checks and Fund Transfers for
                    Authorized Payments, and (V) Scheduling Final Hearing [D.I. 4, 9/6/18]

                    Response Deadline:                                     September 25, 2018 at 4:00 p.m. (ET)
                                                                           [Extended until September 27, 2018 at 1:00
                                                                           p.m. (ET) for the Official Committee of
                                                                           Unsecured Creditors]

                    Responses Received:

                         A.       Informal comments from the Office of the United States Trustee received and
                                  addressed prior to filing the motion.

                    Related Documents:

                         B.       Interim Order (I) Authorizing Payment of Limited Prepetition Employee
                                  Benefits and Confirming Right to Continue Employee Benefits on
                                  Postpetition Basis, (II) Authorizing Payment of Reimbursement for
                                  Prepetition Expenses, (III) Authorizing Payment of Withholding and Payroll-
                                  Related Taxes, (IV) Authorizing Banks to Honor Prepetition Checks and Fund
                                  Transfers for Authorized Payments [D.I. 41, 9/7/18]

                         C.       Notice of Final Hearing and Entry of Interim Order [D.I. 52, 9/7/18]
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                The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
                (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
                LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.

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                   D.        Certification of No Objection [D.I. 94, 9/27/18]

                   E.        Final Order (I) Authorizing Payment of Limited Prepetition Employee
                             Benefits and Confirming Right to Continue Employee Benefits on
                             Postpetition Basis, (II) Authorizing Payment of Reimbursement for
                             Prepetition Expenses, (III) Authorizing Payment of Withholding and Payroll-
                             Related Taxes, (IV) Authorizing Banks to Honor Prepetition Checks and Fund
                             Transfers for Authorized Payments [D.I. 108, 9/28/18]

                Status:      A final order has been entered.

          2.    Debtors’ Application for an Order Authorizing the Retention and Employment of Young
                Conaway Stargatt & Taylor, LLP as Counsel for the Debtors, Nunc Pro Tunc to the
                Petition Date [D.I. 62, 9/11/18]

                Response Deadline:                             September 25, 2018 at 4:00 p.m. (ET)
                                                               [Extended until September 27, 2018 at 1:00
                                                               p.m. (ET) for the Official Committee of
                                                               Unsecured Creditors]

                Responses Received:

                   A.        Informal comments from the Office of the United States Trustee

                Related Documents:

                   B.        Certification of Counsel [D.I. 95, 9/27/18]

                   C.        Order Authorizing the Retention and Employment of Young Conaway
                             Stargatt & Taylor, LLP as Counsel for the Debtors, Nunc Pro Tunc to the
                             Petition Date [D.I. 109, 9/28/18]

                Status:      An order has been entered.

          3.    Debtors’ Motion for Entry of an Administrative Order Establishing Procedures for
                Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 65,
                9/11/18]

                Response Deadline:                             September 25, 2018 at 4:00 p.m. (ET)
                                                               [Extended until September 27, 2018 at 1:00
                                                               p.m. (ET) for the Official Committee of
                                                               Unsecured Creditors]

                Responses Received:                            None




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                Related Documents:

                   A.        Certification of No Objection [D.I. 97, 9/27/18]

                   B.        Order Establishing Procedures for Interim Compensation and Reimbursement
                             of Expenses of Professionals [D.I. 110, 9/28/18]

                Status:      An order has been entered.

          4.    Debtors’ Motion for Entry of an Order Providing that Any Creditors’ Committee Is Not
                Authorized or Required to Provide Access to Confidential or Privileged Information to
                Creditors [D.I. 66, 9/11/18]

                Response Deadline:                            September 25, 2018 at 4:00 p.m. (ET)
                                                              [Extended until September 27, 2018 at 1:00
                                                              p.m. (ET) for the Official Committee of
                                                              Unsecured Creditors]

                Responses Received:                           None

                Related Documents:

                   A.        Certification of No Objection [D.I. 98, 9/27/18]

                   B.        Order Providing that Any Creditors Committee Is Not Authorized or Required
                             to Provide Access to Confidential or Privileged Information to Creditors
                             [D.I. 111, 9/28/18]

                Status:      An order has been entered.

          5.    Debtors’ Application for an Order Authorizing the Employment and Retention of Donlin,
                Recano & Company, Inc., as Administrative Agent to the Debtors, Nunc Pro Tunc to the
                Petition Date [D.I. 67, 9/11/18]

                Response Deadline:                            September 25, 2018 at 4:00 p.m. (ET)
                                                              [Extended until September 27, 2018 at 1:00
                                                              p.m. (ET) for the Official Committee of
                                                              Unsecured Creditors]

                Responses Received:                           None

                Related Documents:

                   A.        Certification of No Objection [D.I. 99, 9/27/18]




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                   B.        Order Authorizing the Employment and Retention of Donlin, Recano &
                             Company, Inc., as Administrative Agent to the Debtors, Nunc Pro Tunc to the
                             Petition Date [D.I. 112, 9/28/18]

                Status:      An order has been entered.

          6.    Debtors’ Motion for an Order Authorizing the Debtors to Retain, Employ, and
                Compensate Certain Professionals Utilized By the Debtors in the Ordinary Course of
                Business [D.I. 68, 9/11/18]

                Response Deadline:                             September 25, 2018 at 4:00 p.m. (ET)
                                                               [Extended until September 27, 2018 at 1:00
                                                               p.m. (ET) for the Official Committee of
                                                               Unsecured Creditors]

                Responses Received:

                   A.        Informal comments from the Office of the United States Trustee

                Related Documents:

                   B.        Certification of Counsel [D.I. 100, 9/27/18]

                   C.        Order Authorizing the Debtors to Retain, Employ, and Compensate Certain
                             Professionals Utilized By the Debtors in the Ordinary Course of Business
                             [D.I. 113, 9/28/18

                Status:      An order has been entered.

          UNCONTESTED MATTERS—CERTIFICATIONS FILED

          7.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Continued Use of
                Cash Management System, (II) Authorizing the Continuation of Intercompany and
                Affiliate Transactions, (III) Granting Administrative Priority Status to Postpetition
                Intercompany and Affiliate Claims, (IV) Authorizing Use of Prepetition Bank Accounts,
                Account Control Agreements, and Payment Methods, (V) Extending Time to Comply
                With Requirements of 11 U.S.C. § 345(b), and (VI) Scheduling Final Hearing [D.I. 5,
                9/6/18]

                Response Deadline:                            September 25, 2018 at 4:00 p.m. (ET)
                                                              [Extended until September 27, 2018 at 1:00
                                                              p.m. (ET) for the (i) Official Committee of
                                                              Unsecured Creditors and (ii) Endgame
                                                              Releasing Co., LLC and Endgame Releasing
                                                              Funding, LLC]




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                Responses Received:

                   A.        Informal comments from the Office of the United States Trustee received and
                             addressed prior to filing the motion.

                Related Documents:

                   B.        Interim Order (I) Authorizing Continued Use of Cash Management System,
                             (II) Authorizing the Continuation of Intercompany and Affiliate Transactions,
                             (III) Granting Administrative Priority Status to Postpetition Intercompany and
                             Affiliate Claims, (IV) Authorizing Use of Prepetition Bank Accounts,
                             Account Control Agreements, and Payment Methods, (V) Extending Time to
                             Comply With Requirements of 11 U.S.C. § 345(b), and (VI) Scheduling Final
                             Hearing [D.I. 43, 9/7/18]

                   C.        Notice of Final Hearing and Entry of Interim Order [D.I. 54, 9/7/18]

                   D.        Certificate of No Objection [D.I. 105, 9/27/18]

                   E.        Proposed Order

                Status:      Item A was resolved prior to filing the Motion. A certificate of no objection
                             has been filed with the Court. No hearing is required unless the Court has
                             questions.

          8.    Debtors’ Application for Entry of an Order Authorizing the Debtors to (I) Employ and
                Retain FTI Consulting, Inc. to Provide the Debtors a Chief Restructuring Officer and
                Certain Additional Personnel and (II) Designate Amir Agam as Chief Restructuring
                Officer for the Debtors Nunc Pro Tunc to the Petition Date [D.I. 63, 9/11/18]

                Response Deadline:                             September 25, 2018 at 4:00 p.m. (ET)
                                                               [Extended until September 27, 2018 at 1:00
                                                               p.m. (ET) for the Official Committee of
                                                               Unsecured Creditors and September 27,
                                                               2018 at 4:00 p.m. (ET) for the Office of the
                                                               United States Trustee]

                Responses Received:

                   A.        Informal comments from the Office of the United States Trustee

                Related Documents:

                   B.        First Supplemental Declaration of Amir Agam in Support of Debtors’
                             Application [D.I. 93, 9/27/18]

                   C.        Certification of Counsel [D.I. 96, 9/27/18]

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                   D.        Proposed Order

                Status:      Item A has been resolved and a revised proposed order has been submitted
                             under Certification of Counsel. No hearing is required unless the Court has
                             questions.

          9.    Debtors’ Application, Pursuant to Section 327(a) of the Bankruptcy Code, Rule 2014 of
                the Federal Rules of Bankruptcy Procedure, and Local Rule 2014-1, for Entry of an Order
                Authorizing Employment and Retention of Klee, Tuchin, Bogdanoff & Stern LLP as
                Counsel for the Debtors and Debtors in Possession Nunc Pro Tunc to the Petition Date
                [D.I. 64, 9/11/18]

                Response Deadline:                             September 25, 2018 at 4:00 p.m. (ET)
                                                               [Extended until September 27, 2018 at 1:00
                                                               p.m. (ET) for the Official Committee of
                                                               Unsecured Creditors]

                Responses Received:

                   A.        Informal comments from the Office of the United States Trustee

                Related Documents:

                   B.        Supplemental Declaration of Jonathan M. Weiss in Support of Debtors’
                             Application [D.I. 106, 9/27/18]

                   C.        Certification of Counsel [D.I. 107, 9/27/18]

                   D.        Proposed Order

                Status:      Item A has been resolved and a revised proposed order has been submitted
                             under Certification of Counsel. No hearing is required unless the Court has
                             questions.

          CONTESTED MATTERS GOING FORWARD

          10.   Debtors’ Motion for Orders: (A)(I) Establishing Bid and Sale Procedures Relating to the
                Sale of Substantially All of the Debtors’ Assets, (II) Authorizing the Debtors to Enter
                Into an Asset Purchase Agreement with Stalking Horse Bidder, (III) Establishing and
                Approving Procedures Relating to the Assumption, Assignment and Sale of Certain
                Executory Contracts and Unexpired Leases, Including Notice of Proposed Cure Amounts
                and (IV) Scheduling a Hearing to Consider the Proposed Sale and (B)(I) Approving the
                Sale of Substantially All of the Debtors’ Assets, (II) Authorizing the Assumption,
                Assignment and Sale of Certain Executory Contracts and Unexpired Leases, and
                (III) Granting Certain Related Relief [D.I. 9, 9/6/18]



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                Response Deadline:                            September 25, 2018 at 4:00 p.m. (ET)
                                                              [Extended until September 27, 2018 at 4:00
                                                              p.m. (ET) for the Office of the United States
                                                              Trustee; Extended until September 27, 2018
                                                              at 1:00 p.m. (ET) for Endgame Releasing
                                                              Co., LLC and Endgame Releasing Funding,
                                                              LLC; and Extended until October 1, 2018 at
                                                              2:00 p.m. (ET) for the Official Committee of
                                                              Unsecured Creditors]

                Responses Received:

                   A.        Informal comments from the Office of the United States Trustee

                   B.        Informal objection from the Official Committee of Unsecured Creditors

                   C.        Response and Reservation of Rights of Endgame Releasing Co., LLC and
                             Endgame Releasing Funding, LLC [D.I. 102, 9/27/18]

                Related Documents:

                   D.        Notice of Motion [D.I. 50, 9/7/18]

                Status:      Item A has been resolved. The Debtors have resolved a number of the issues
                             raised by the various parties through revisions to the proposed order and are
                             continuing to negotiate with the various parties to reach consensual
                             resolutions on the remaining issues and address the outstanding comments
                             received. This matter is going forward.

          11.   Debtors’ Motion for Entry of Interim and Final Orders, Pursuant to Sections 105(a), 361,
                362, 363(c), 503(b), and 507(b) of the Bankruptcy Code, (I) Authorizing Debtors to Use
                Cash Collateral, (II) Granting Adequate Protection, (III) Setting Final Hearing, and
                (IV) Granting Related Relief [D.I. 6, 9/6/18]

                Response Deadline:                            September 25, 2018 at 4:00 p.m. (ET)
                                                              [Extended until September 27, 2018 at 1:00
                                                              p.m. (ET) for the Union Entities; Extended
                                                              until September 28, 2018 at 10:00 a.m. (ET)
                                                              for Redrover Co. Ltd.; Extended until
                                                              September 28, 2018 at 12:00 noon (ET) for
                                                              (i) Lakeshore Entertainment Productions
                                                              LLC and (ii) Promise Acquisition LLC;
                                                              Extended until September 28, 2018 at 2:00
                                                              p.m. (ET) for Endgame Releasing Co., LLC
                                                              and Endgame Releasing Funding, LLC;
                                                              Extended until October 1, 2018 at 2:00 p.m.
                                                              (ET) for the Official Committee of

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                                                             Unsecured Creditors; Extended for the
                                                             Office of the United States Trustee]
                Responses Received:

                   A.      Informal objection from the Official Committee of Unsecured Creditors

                   B.      Informal comments from Lakeshore Entertainment Productions LLC

                   C.      Reservation of Rights of East West Bank [D.I. 37, 9/6/18]

                   D.      Reservation of Rights of the Directors Guild of America, Inc., et al. and their
                           Respective Pension and Health Plans (collectively, the “Union Entities”)
                           [D.I. 101, 9/27/18]

                   E.      Reservation of Rights of Endgame Releasing Co., LLC and Endgame
                           Releasing Funding, LLC [D.I. 103, 9/27/18]

                   F.      Redrover Co. Ltd.’s Reservation of Rights [D.I. 114, 9/28/18]

                Related Documents:

                   G.      Interim Order, Pursuant to Sections 105(a), 361, 362, 363(c), 503(b), and
                           507(b) of the Bankruptcy Code, (I) Authorizing Debtors to Use Cash
                           Collateral, (II) Granting Adequate Protection, (III) Setting Final Hearing, and
                           (IV) Granting Related Relief [D.I. 51, 9/7/18]

                   H.      Notice of Final Hearing and Entry of Interim Order [D.I. 55, 9/7/18]

                   I.      Notice of Filing of Draft Proposed Final Cash Collateral Order [D.I. 115,
                           9/28/18]

                Status:    The Debtors have resolved a number of the issues raised by the various parties
                           through revisions to the proposed final order and are continuing to negotiate
                           with the various parties to reach consensual resolutions on the remaining
                           issues and address the outstanding comments received. This matter is going
                           forward.



                                            [Signature page follows]




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          Dated: September 28, 2018             /s/ Ian J. Bambrick
                                                Michael R. Nestor, Esq. (Bar No. 3526)
                                                Robert F. Poppiti, Jr., Esq. (Bar No. 5052)
                                                Ian J. Bambrick, Esq. (Bar No. 5455)
                                                YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                Rodney Square
                                                1000 North King Street
                                                Wilmington, Delaware 19801
                                                Tel: (302) 571-6600
                                                Fax: (302) 571-1253

                                                and

                                                Michael L. Tuchin, Esq.
                                                Jonathan M. Weiss, Esq.
                                                Sasha M. Gurvitz, Esq.
                                                KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                                1999 Avenue of the Stars, 39th Floor
                                                Los Angeles, CA 90067
                                                Tel: (310) 407-4000
                                                Fax: (310) 407-9090

                                                Counsel to Debtors and Debtors in Possession




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